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                                                                                            EXHIBIT 54



      Press Center


       T ea        De ig a e I a ia Mi i                      fI     e ige ce a d Sec          i    f    H     a Righ       Ab        e a dS            f     Te   i

       2/16/2012

                                                  M        Ta ge ed f      R e     Fac a     g Ab       e b   he I a a a d S     a Reg      e

       WASHINGTON The U.S. Depar men of he Trea r oda anno nced he de igna ion of he Iranian Mini r of In elligence and Sec ri (MOIS), Iran'
       primar in elligence organi a ion, for i ppor o errori gro p a ell a i cen ral role in perpe ra ing h man righ ab e again he ci i en of Iran and
       i role in ppor ing he S rian regime a i con in e o commi h man righ ab e again he people of S ria.

       Toda   ac ion    ere aken in con l a ion i h he Depar men of S a e and o her agencie , a applicable, p r an o E ec i e Order (E.O.) 13224, 13553
       and 13572, hich arge errori       and heir ppor er and ho e re pon ible for h man righ ab e in Iran and S ria, re pec i el . An proper or proper
       in ere  in he Uni ed S a e or in he po e ion or con rol of U.S. per on in hich he MOIS ha an in ere are blocked, and U.S. per on are prohibi ed
       from engaging in ran ac ion    i h i . A a re l of oda ac ion all member of he MOIS are al o ineligible o recei e i a from he Depar men of S a e.

        Toda    e ha e de igna ed he MOIS for ab ing he ba ic h man righ of Iranian ci i en and e por ing i      icio prac ice o ppor he S rian regime
       abhorren crackdo n on i o n pop la ion, aid Under Secre ar for Terrori m and Financial In elligence Da id S. Cohen. In addi ion, e are de igna ing he
       MOIS for i    ppor o errori gro p , incl ding al Qa ida, al Qa ida in Iraq, Hi ballah and HAMAS, again e po ing he e en of Iran pon or hip of errori m
       a a ma er of Iranian a e polic .

       The Uni ed S a e fir e po ed Iran a i ance o he S rian go ernmen in i         iolen crackdo n again he S rian pop la ion hen, on April 29, 2011,
       Pre iden Obama iden ified Iran I lamic Re ol ionar G ard Corp ­ Qod Force (IRGC­QF) a          bjec o anc ion p r an o E.O. 13572. The IRGC­QF
        er e a a cond i for Iranian ma erial ppor o he S rian General In elligence Direc ora e (GID), he o erarching ci ilian in elligence er ice in S ria. On
       Ma 18, 2011, Trea r impo ed anc ion on o IRGC­QF enior officer , Qa em Soleimani, he Commander of he IRGC­QF, and Moh en Chi ari, a enior
       IRGC­QF officer ho er e a he Commander of IRGC­QF Opera ion and Training. A li le o er a mon h la er, on J ne 29, 2011, Trea r de igna ed Iran
       La Enforcemen Force (LEF), hich i commonl referred o a Iran na ional police. Like he IRGC­QF, he LEF pro ided ma erial ppor o he S rian GID;
       i al o di pa ched per onnel o Dama c in April o a i he S rian go ernmen in i effor o ppre            he S rian people. I mail Ahmadi Moghadam, he
       chief of Iran LEF, and Ahmad­Re a Radan, he dep      chief of Iran LEF ere al o de igna ed a ha ime. In April 2011, Radan ra eled o Dama c , here
       he me i h S rian ec ri     er ice and pro ided e per i e o aid in he S rian go ernmen ' crackdo n on he S rian people.

       E ec i e O de 13224 (Te        i       )

       The U.S. Depar men of he Trea      r       oda de igna ed MOIS p r         an o E.O. 13224 for i        ppor o Hi ballah, HAMAS and al Qa ida.

       MOIS pro ide financial, ma erial, or echnological ppor for, or financial or o her er ice               o Hi ballah, a errori    organi a ion de igna ed nder E.O. 13224.
       MOIS ha par icipa ed in m l iple join projec   i h Hi ballah in comp er hacking.

       MOIS pro ide financial, ma erial, or echnological            ppor for, or financial or o her er ice    o HAMAS, a errori       gro p al o de igna ed nder E.O. 13224.

       MOIS ha facili a ed he mo emen of al Qa ida opera i e in Iran and pro ided hem i h doc men , iden ifica ion card , and pa                      por .

       MOIS al o pro ided mone and        eapon       o al Qa ida in Iraq (AQI), a errori   gro p de igna ed nder E.O. 13224, and nego ia ed pri oner relea e of AQI
       opera i e .

       E ec i e O de 13572 (S      ia H           a Righ     Ab     e )

       The U.S. Depar men of he Trea r oda al o de igna ed MOIS p r an o E.O. 13572 for pro iding ppor o he S rian regime             iolen repre ion of
       di en in S ria. MOIS, like he IRGC­QF, and he Iranian LEF, ha pro ided financial, ma erial, or echnological ppor o he S rian GID, ho e proper and
       in ere   in proper are blocked p r an o E.O. 13572. MOIS ha pro ided b an ial echnical a i ance o he S rian GID for he p rpo e of a i ing he
       S rian regime in i iolen crackdo n on pro e er .

       E ec i e O de 13553 (I a H          a Righ          Ab      e )



       The U.S. Depar men of he Trea r and S a e al o oda impo ed anc ion again MOIS p r an o E.O. 13553 for being re pon ible for or complici in he
       commi ion of erio h man righ ab e again he Iranian people ince J ne 12, 2009. MOIS agen are re pon ible for he bea ing , e al ab e,
       prolonged in erroga ion , and coerced confe ion of pri oner , par ic larl poli ical pri oner , hich occ rred in Ward 209 of E in Pri on, hich i con rolled
       b MOIS, follo ing he J ne 2009 elec ion in Iran.

       More generall , MOIS i kno n o ha e ed abhorren me hod of in erroga ion                      ch a mock e ec ion and form of e            al iolence. MOIS agen   ha e al o
       arre ed and de ained member of he Bahai religion i ho charge .

       Ide if i g I f   ai    :

       En i : IRANIAN MINISTRY OF INTELLIGENCE AND SECURITY




PARHAMOVICH V. IRAN                                                                                                                                                                 PLA000305
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       AKA: MOIS

       AKA: VEZARAT­E ETTELA'AT VA AMNIAT­E KESHVAR

       AKA: VEVAK

       Addre   : Headq ar er loca ed in Tehran, Iran; bo nded ro ghl b Sana i S ree on he e , 30 h S ree on he o h, and Iraqi S ree on he ea .
       Addre   : Mini r of In elligence, Second Negare an S ree , Pa daran A en e, Tehran, Iran.

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PARHAMOVICH V. IRAN                                                                                                                              PLA000306
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